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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE

Parker Tirrell, by her parents and next friends Sara Tirrell
and Zachary Tirrell, and

Iris Turmelle, by her parents and next friends Amy
Manzelli and Chad Turmelle,

       Plaintiffs.
                                                                  Civil Action No. 1:24-cv-00251
       v.

Frank Edelblut, in his official capacity as Commissioner of
the New Hampshire Department of Education;

Andrew Cline, Kate Cassady, Ann Lane, Philip Nazzaro,
Rajesh Nair, James Fricchione, and James Laboe, in their
official capacities as members of the New Hampshire
State Board of Education;

Pemi-Baker Regional School District;

Lisa Ash, Bernice Sullivan, Sheila Donahue, Tony Torino,
Carolyn Varin, Peter Jackson, Phil McCormack, Greg
Aprilliano, Bonnie Acton, Barbara Noyes, Paul Ciotti,
Sam Brickley, and Paul Pizzano, in their official
capacities as members of the Pemi-Baker Regional School
Board;

Pembroke School District; and

Andrew Camidge, Gene Gauss, Kerri Dean, and Melanie
Camelo, in their official capacities as members of the
Pembroke School Board,

       Defendants.


DECLARATION OF LUISA FONTES AGUIAR, MD, IN SUPPORT OF PLAINTIFF
PARKER TIRRELL’S MOTION FOR TEMPORARY RESTRAINING ORDER AND
                   PRELIMINARY INJUNCTION
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   I, Luisa Fontes Aguiar, MD, state as follows:

1. I am a pediatric endocrinologist in the Dartmouth-Hitchcock Medical Center and

   Dartmouth Hitchcock Clinics. I have been treating transgender children and adolescents

   with gender dysphoria in my role at the Dartmouth-Hitchcock Pediatric and Adolescent

   Transgender Program since 2020.

2. I work with a team of medical care providers, including psychologists and pediatric

   endocrinologists, to evaluate, diagnose, and treat transgender children and adolescents

   with gender dysphoria, according to the best-practice standards of care developed by the

   World Professional Association for Transgender Health (“WPATH”) and the Endocrine

   Society.

3. Parker Tirrell is my patient. Parker is a transgender girl who was born in 2008. I have

   known and treated Parker since October of 2022.

4. In April of 2023 we received a letter from her therapist Molly Comrie, LICSW

   confirming Parker’s diagnosis of gender dysphoria.




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5. In May of 2023, based on Parker's physical development and treatment plan, she was

   prescribed and administered Triptodur, a GnRH agonist medication (commonly known as

   puberty-blocking medication).

6. Based on her treatment plan, Parker will continue to receive puberty-blocking

   medication, which will prevent her from going through male puberty. She will not

   develop masculine secondary sex characteristics nor experience physiological changes

   related to testosterone.

7. In December of 2023, based on Parker's physical development and treatment plan, she

   was prescribed and began taking Estradiol, a feminizing hormone therapy, with the goal

   of causing her body to develop female secondary sex characteristics. Parker has begun

   going through estrogen-driven puberty.



   I declare under penalty of perjury that the foregoing is true and correct.
   Executed this lt"- day of August, 2024.


                                                                 Respectfully Submitted,




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